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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

RUBEN D. MORALES,

Plaintiff,
v. Case No. 2:21-cv-11548-CCC-AME

Civil Action
THE STATE OF NEW JERSEY, THE

NEW JERSEY DEPARTMENT OF
CORRECTIONS, NORTHERN STATE
PRISON, THE NEW JERSEY
DEPARTMENT OF CORRECTIONS
SPECIAL INVESTIGATION
DIVISTON, MARCUS HICKS,
VICTORIA KUHN, PATRICK NOGAN,
GEORGE ROBINSON, JR., MATTHEW
SCHLUSSELFELD, DUANE GRADE (in
their personal and official
capacities), SHAWN ZAMBRANO,
JOHN AND JANE DOES (1-50) {in
their personal and
professional capacities), and
XYZ ENTITIES AND CORPS. (1-
30),

Defendants.

 

 

 

PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

 

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STATEMENT OF CASE

 

On April 22, 2019, Plaintiff, a twenty (20) year veteran
Senior Correctional Police Officer empioyed by the New Jersey
Department of Corrections at Northern State Prison in Newark, was
viciously attacked by an inmate that was able to free himself from
his cell due to the cell doors not locking properly. Plaintiff
had previously complained about the faulty conditions of the cell
doors but Defendants took no action to correct the exceedingly
dangerous working conditions. Because of the attack, Plaintiff
suffered and continues to suffer severe and permanent injuries.
Specifically, the incident resulted in Officer Morales needing
spinal fusion surgery and the damage to his emotional and mental
health was so severe it required a brief commitment to a mental
health facility to deal with the stress and anxiety caused by the
gravitas of the situation before the Court. Officer Morales
continues to suffer physically, emotionally, and mentally in a
dramatic way from the facts that underlie this litigation.

Immediately after the assault, Plaintiff was taken to the
hospital via ambulance where he remained for an entire day. Upon
his release from the hospital, Plaintiff returned to the jail and
completed a State of New Jersey “Report of Accidental Injury” form.
(See Heintjes Cert. Exhibit A) On that form, Plaintiff provided
his name, address, social security number, date, location, time,

description of the assault, description of his injuries as known
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at the time, and a list of known witnesses. The form indicates
that his superiors were to further investigate and forward the
form to the State of New Jersey Department of the Treasury,
Division of Risk Management, PO Box 620 Trenton, NJ 08625. The
form is nearly identical to a Tort Claim Notice and was filed
within seventy-two (72) hours of the attack.

After Plaintiff’s injuries and complaints of the dangerous
working conditions, Defendants began a course of action of
discrimination and retaliation against Plaintiff. Defendants
instituted spurious criminal and administrative investigations and
charges against Plaintiff which have caused Plaintiff to suffer
and continue to suffer from the severe and permanent injuries
referenced herein.

Defendants now move to dismiss this action pursuant to
F.R.C.P. 12 (b) (6).

STATEMENT OF FACTS

 

Plaintiff began his employment with the New Jersey Department
of Corrections on or about September 26, 1999, In those twenty
(20) plus years of meritorious service, Plaintiff received two
commendations for exceptional performance and only one
disciplinary action. (See Paragraph 1 of the Complaint annexed as
Exhibit B to the Heintjes Certification) For the entirety of his
career, Plaintiff was employed as a Correctional Police Officer at

Northern State Prison Located in Newark, New Jersey. (See Paragraph
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16 of the Complaint annexed as Exhibit B to the Heintjes
Certification.)

Northern State Prison is a maximum-security prison that
houses approximately eighteen hundred (1,800) prisoners. Inside
the prison there is a unit known as the Administrative Segregation
Unit (“Ad Seg”) where inmates that are deemed too violent to be in
general population are housed. (See Paragraph 17 of the Compiaint
annexed as Exhibit B to the Heintjes Certification.) The locking
mechanism on the cell doors in Ad Seg do not function properly and
inmates can free themselves from their cells at will. (See
Paragraph 19 of the Complaint annexed as Exhibit B to the Heintjes
Certification.)

Plaintiff complained about the dangerous conditions inside
the prison. (See Paragraph 19 of the Complaint annexed as Exhibit
B to the Heintjes Certification.) Despite the complaints from
Plaintiff and others, the Department of Corrections took no
corrective action te repair the cell doors and ensure a safe
environment for its employees or the inmates within its care. (See
Paragraph 20 of the Complaint annexed as Exhibit B to the Heintjes
Certification.)

On April 22, 2019, while working his normal duties in Ad Seg,
Plaintiff was viciously assaulted by Defendant d4ambrano, who,
because of the faulty cell doors, was able to free himself from

his cell to perpetrate the brutal attack. (See Paragraph 32 of
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Preuss Certification annexed hereto as Exhibit B.) Zambrano was
housed in Ad Seg due to his repeated violent conduct while
incarcerated at the prison as a result of a conviction of first
degree carjacking - inflicting bodily injury/use of force. (See
Paragraph 29 of Preuss Certification annexed hereto as Exhibit B.)

As a result of the attack and beating, Plaintiff suffered
permanent, painful bodily injuries which necessitated his
obtaining medical treatment, caused him great pain and suffering,
severe mental anguish manifesting in physical injuries,
incapacitated him from pursuing his usual employment and other
activities, and have left him with loss of income and permanent
disabilities that will, in the future, similarly incapacitate him,
cause him great pain and suffering and require medical treatment.
(See Paragraph 34 of Preuss Certification annexed hereto as Exhibit
B.)

After Plaintiff was rescued by fellow officers responding to
the scene of the assault, he was taken to the hospital for his
injuries via ambulance. After his discharge from the hospital,
two days after the assault, Plaintiff returned to Northern State
Prison and completed a State of New Jersey “Report of Accidental
Injury” form. (See Heintjes Cert. annexed hereto as Exhibit A) On
that form Plaintiff provided his name, address, social security
number, date, location, time, description of the assault and how

it occurred, description of his injuries as known at the time, and
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a list of known witnesses. (See Heintites Cert. annexed hereto as
Exhibit A) The form indicates that his superiors were to further
investigate and forward the form to the State of New Jersey
Department of the Treasury, Division of Risk Management, PO Box
620 Trenton, New Jersey 08625 -— the same exact address and P.O.
Box that the State of New Jersey directs notices of claims to be
fiied.

While Officer Morales was out of work convalescing from his
injuries, Defendants instituted spurious criminal and
administrative charges against him. The aforesaid conduct of
Defendants has prevented Pliaintiff’s ability to return to work and
has caused him to suffer severe emotional distress. All of the
aforesaid conduct by defendants also caused him to suffer severe,
painful bodily injuries which necessitated his obtaining medical
treatment, caused him great pain and suffering, severe mental
anguish manifesting in physical injuries, and have left him with
permanent reputational damage, loss of income, permanent
disabilities that will, in the future, similarly incapacitate him,
cause him great pain and suffering and require medical treatment
and other damages. (See Paragraph 45 of the Complaint annexed as
Exhibit B to the Heintjes Certification}

STANDARD OF REVIEW

 

Federal Rule of Civil Procedure 12(b) (6) permits a defendant

to move for dismissal of a complaint based on failure to state a
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claim upon which relief can be granted. A complaint should only
be dismissed pursuant to FRCP 12(b) (6) if the alleged facts, taken
as true, fail to state a claim. When deciding a motion to dismiss
pursuant to FRCP 12(b) (6), ordinarily only the ailegations in the
complaint, matters of public record, orders, and exhibits attached

to the complaint, are taken into consideration. See Chester County

 

Intermediate Unit v. Pa. Blue Shield, 896 F.2d 808, 812 (3d Cir.
1990). It is not necessary for the plaintiff to plead evidence.

Bogosian v. Gulf O11 Corp., 561 F.2d 434, 446 (3d Cir. 1977) The

 

question before the Court is not whether the Plaintiff will

ultimately prevail. Watson v Abington Twp., 478 F.3d 144, 150

 

(2007). Instead, the Court simply asks whether the plaintiff has
articulated enough facts to state a claim to relief that is

plausible on its face. Bell Atl. Corp. v. Twombly, 550 U.S. 544,

 

570 (2007).
A claim has facial plausibility when the plaintiff pleads
Factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.

 

Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949 (2009)
(citing Twombly, supra, 550 U.S. at 556) Where there are well-
pleaded factual allegations, a court should assume their veracity

and then determine whether they plausibly give rise to an

entitlement to relief. Iqbal, supra, 129 S.Ct. at 1950.
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Thus, a motion to dismiss should not be granted when
plaintiff’s factual allegations are enough to raise a right to
relief above the speculative level on the assumption, however
doubtful, that all the allegations in plaintiff’s complaint are
true. Twombly, supra, 550 U.S. at 556. All that is required are
“enough facts to state a claim to relief that is plausible on its
face.” Id. at 569.

As argued further herein, the Defendants cannot articulate a
basis for relief in the current application as Plaintiff’s
Complaint is appropriately plead and articulated varicus claims
for relief that are plausible.

As such, Defendants’ motion must be denied.

LEGAL ARGUMENT

POINT I

PLAINTIFF’S COMPLAINT SHOULD NOT BE DISMISSED
BECAUSE IT WAS APPROPRIATELY PLED.

A complaint must contain “a short and plain statement of the
claim showing that the pleader is entitled to relief.” F.R.C.P.
8{a) (2). The purpose of this statement is to provide the defendant
with fair notice of the basis of the plaintiff’s claim in order
for defendant to respond to the complaint. See Twombly, supra, 550
U.S. at 565. Tt is the function of discovery to fill in the

details. See Remick v. Manfredy, 238 F.3d 248, 263-64 (3d. Cir.

 

2001). Facts disproving an affirmative defense need not be plead.

See Ray v. Kertes, 285 F.3d 287, 295 (3d Cir. 2002).
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“The touchstone of the pleading standard is plausibility.”
Bistrian v. Levi, 696 F.3d 352, 365 (3d. Cir. 2012). To survive
a motion to dismiss, a complaint must contain sufficient factual
matter, accepted as true, to state a claim to relief that is
plausible on its face. A claim has facial plausibility when the
plaintiff pleads factual content that allows the court to draw the
reasonable inference that the defendant is liable for the
misconduct alleged. The plausibility standard is not akin to a
probability requirement, but it asks for more than sheer

possibility that a defendant acted unlawfully. Ashcroft v. Iqbal,

 

556 U.S. 662 (2009). Further, the Third Circuit in Bistrian,
articulated a three-step analysis to be applied by the district
court when evaluating the sufficiency of a complaint. Bistrian,
supra, 696 F.3d at 365 “First the [the court] outlines the elements
a plaintiff must plead to state a claim for relief.” Id. “Next
[the court] peel away those allegations that are no more than
conclusions and thus not entitled to the assumption of truth.”
Id. “Finally, we look for well-pied factual allegations, assume
their veracity, and then ‘determine whether they plausibly give
rise to an entitlement of relief.” Id. (citing Iqbal, supra, 556
U.S. at 679} (emphasis added). This last step is “a content
specific task that requires the reviewing court to draw on its

judicial experience and common sense.” Id. “The issue is not

whether the plaintiff ultimately will prevail, but whether the
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plaintiff should be ailowed to submit evidence to support its
claims.” Bartkus, New Jersey Federal Civil Procedure, pg. 214.

Plaintiff’s Complaint satisfies the plausibility requirement
and is not subject to pre-discovery dismissal. The Complaint as
drafted contains sufficient facts not only to give defendants fair
notice of the Plaintiff’s claims and the grounds or bases on which
they rest, but also state claims which are plausible and grounded
in documentable facts.

Defendants seek dismissal of Counts four (4), five (5), six
(6) and nine (9), arguing that they were insufficientiy pled.
Controliing authority dictates their application to be denied.

A. The New Jersey Civil Rights Act - Count 4, and The
Constitutional Torts - Count 5.

Count Four of the Complaint is brought pursuant to the New
Jersey Civil Rights Act (“NJCRA”) against Defendants, Hicks, Kuhn,
Nogan, Robinson, Schiusselfeld, and Grade (“the Individual State
defendants”) in their Personal and Official Capacities.
Defendants seek to dismiss Count Four of the Complaint as to the
individual defendants in their Official Capacities only.
Defendants contend that the State Entity defendants and the
Individual State defendants are not “persons” under the NJCRA.

Count Five of the Complaint was brought pursuant to the United
States Constitution, specifically, retaliation in violation of the

United States Constitution’s Petition Clause and its New Jersey
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Constitution counterpart, against the State of New Jersey, the New
Jersey Department of Corrections, Northern State Prison, and the
New Jersey Department of Corrections Special Investigation
Division (“the State Entity defendants”) and the Individual State
defendants. Defendants seek to dismiss Count Five of the Complaint
against the State Entity Defendants and the State Individual
defendants in their Official Capacities only.

The State argues that pursuant to Will v. Michigan Department

 

of Police, 491 U.S. 58 (1989), the State Entity and Individual
defendants are not subject to liability under 42 U.S.C. $1983 and
that they are not persons under that act. However, the Defendants
ignore that Plaintiff pieads that the State Defendants have a
policy and/or custom to retaliate against employees who report
unlawful, improper and/or prohibited conduct, policies, acts
and/or omissions engaged by or on behalf of the State and/or its
employees, agents, representatives, and/or servants. It is
further pled in the Complaint that the State failed to properly
train and/or supervise its employees, servants, representatives
and/or agents to prevent such retaliation and was deliberately
indifferent to Plaintiff’s rights. This conduct is actionable
against both the state entities as well as the individually named
defendants.

Defendants seek the Dismissal of Count Four ({NJCRA) and Count

Five (42 U.S.C. §1983) against the Individual State defendants

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under the theory that Plaintiff alleges their liability is based
only upon the theory of Respondeat Superior. This is false and
not supported by the Complaint. The Complaint alleges that the
individual defendants are liable through the targeted course of
conduct against the Plaintiff. Defendants unilateral declaration
and pigeonholing of Plaintiff’s theories of liability is incorrect
on its face and impermissible for purposes of the instant motion.
This is a misrepresentation of Plaintiff's complaint. Plaintiff
clearly alleges that the Individual Defendants were personally
involved in the retaliation, deprivation of his rights, and the
other tortious acts of which he was a victim. Defendants, again,
argue for a heightened pleading standard or otherwise allege a
lack of evidence as opposed to a lack of sufficient pleading.
Again, Defendants’ arguments are, at best, premature at this stage
of the litigation but will likely fail when presented in a timely
fashion.

B. Conscientious Employee Protection Act — Count Six.

Count Six of the Complaint was brought pursuant to the New
Jersey Conscientious Employee Protection Act (“CEPA”) against all
State Individual and Entity Defendants. Defendants seek to dismiss
Count Six in its entirety alleging that it was insufficiently
plead,

The Conscientious Employee Protection Act (“CEPA”) is a broad

New Jersey whistleblower law. Essentially, it protects employees

Li
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from retaliation such as being fired, demoted, passed up for a
promotion, or harassed because they objected to something that
they reasonably believed violated the law.

More specifically, CEPA prohibits employers from retaliating
against an employee because the employee engaged in a wide range
of what are referred to as “protected activities.” This includes
objecting to, or refusing to participate in, an activity the
employee reascnably believes (1) is in violation of a law or a
legal regulation; (2) is fraudulent or criminal; or (3) is
incompatible with a legal requirement relating to public health,
safety, welfare or the protection of the environment.

The universe of circumstances that provide a basis for a CEPA
claim are clear. The cell doors in an area that was segregated
due to its especially dangerous residents were broken. The
Plaintiff complained about the doors being broken on nearly a daily
basis. As a result of these unsafe doors, the plaintiff was
attacked and permanently and seriously injured. The Plaintiff was
then retaliated against due to his complaints and subsequent
injuries concerning the unsafe cell doors by the institution of
baseless administrative and criminal charges.

To refute Plaintiff’s claim under CEPA, Defendants resort to
the assertion of affirmative defenses and allege that plaintiff
cannot prove his CEPA claim. Both arguments are improper at this

juncture. A textbock claim for CEPA was plead. Plaintiff

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successfully and adequately alleges the factual elements of CEPA
and the Defendants’ plausible liability for same. Plaintiff
alleges he engaged in protected whistleblowing activity, i.e., he
made numerous complaints about dangerous conditions inside a state
prison that were both unlawful, and, against a clear mandate of
public policy; adverse employment actions were taken against him,
and; there was a causal connection between the whistleblowing
activity and the adverse empioyment action.

The Plaintiff has met the “plausibility standard” required in
his pleading. As further explained herein, Defendants’ assertion
and reliance upon possible defenses to Plaintiff’s claims are
irrelevant at this stage of the litigation. Defendants’ attempt
to heighten the pleading standard must fail as a matter of law,
and Defendants’ motion must therefore be denied.

Cc. Discharge Due To Workers’ Compensation - Count 9.

Count Nine of the Complaint was brought pursuant to the New
Jersey Workers’ Compensation Act’s prohibition against retaliation
for claiming workers’ compensation benefits. The elements of this
claim are simple: the Plaintiff was discharged as a result of the
filing of a Worker’s Compensation Claim. The Plaintiff alleges
that his esteemed career was destroyed immediately after filing a
Worker’s Compensation Claim. It is the Plaintiff’s burden to

establish this allegation throughout the discovery process. A

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conclusory denial by defendants is not sufficient to establish
that the claim is insufficientiy plead.

Without discussion of any sort, let alone cited authority,
Defendants seek to have this Count dismissed in its entirety
alleging that it was insufficiently plead for the same reasons
they seek to dismiss Count Six. For the same reasons, Defendants’
arguments fail at this stage of the litigation.

Plaintiff has pled that he made a claim for workers’
compensation benefits and that he was discharged or otherwise
discriminated against by Defendants because of his claim for
workers’ compensation benefits. Accordingly, the Plaintiff has
factually asserted ail of the required elements to satisfy the
pleading requirements for a claim of Discharge Due to Workers’
Compensation. Defendants’ assertions of defenses to the claim are
of no moment in the instant motion.

POINT IT

DEFENDANTS’ MOTION IS PREMATURE AS THE
COMPLAINT REQUIRES FACT DISCOVERY.

Defendants’ application to dismiss the Complaint without
allowing the benefit of discovery is not supported by controlling
authority. The argument that the Plaintiff may not be able to
prove certain counts in the Complaint is not sufficient to succeed
at the pre-answer stage. In fact, the assertion that certain

claims cannot be proven is the core dispute in every case in our

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adversarial system. If the potential that certain claims were not
able to be proven was the basis for pre-answer dismissal, no
litigations would ever go forward.

The central theme of Defendants’ arguments are that there is
a lack of evidence to support the allegations. One would not or
should not expect public records to confirm tortious conduct. It
would be unrealistic to expect an email or memorandum to exist
outlining the plan to discriminate ocr subject the Plaintiff to
tortious conduct. Indeed, Defendants even rely on papers outside
the pleadings (See Cert. of Peter Ramos annexed to Cert. of Preuss
as Exhibit C) which, pursuant to F.R.C.P. 12(d), requires this
Court to examine the Motion under the summary judgment standards
of F.R.C.P. 56 (c}. They also rely on asserting affirmative
defenses that are not ripe for consideration prior to discovery.
Nonetheless, facts disproving an affirmative defense need not be
alleged in a complaint nor are they a permissible part of the
12(b) (6) motion record. See Kertes, supra, 285 F.3d at 295.

The Defendants’ arguments will ultimately fail, but are not
even subject to consideration at this juncture.

POINT IIT
PLAINTIFF TIMELY FILED A NOTICE OF CLAIM AND
HIS STATE LAW CLAIMS THEREFORE SURVIVE THIS
MOTION AS A MATTER OF LAW.
Defendants’ claim that Plaintiff failed to file a Notice of

Claim is only accurate in the most hyper technical of ways, ways

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in which our jurisprudence concerning Tort Claims Notices
expressly disfavors. Plaintiff filed a written notice containing
all the information necessitated by the Act. Defendants’ refusai
or failure to acknowledge Plaintiff's notice of injury was of their
own doing and cannot be used as a basis to shield them from
liability. Counts Seven, Eight, Ten through Thirteen, and Sixteen
through Eighteen survive Defendants’ application as the case law
concerning substantial compliance is weil settled.
A. Plaintiff Gave Timely Notice of Claim.

“The [Tort Claims] Act’s notice requirement is not intended
as ‘a trap for the unwary’” Lowe v. 4arghami, 158 N.J. 606, 629
(1999} (internal citations omitted) Substantial compliance with
the notice provision of N.J.S.A. 59:8-8 (the TCA or the Act) is

all that is required. lebron v. Sanchez, 407 N.J. Super. 204, 215

 

(App. Div. 2009). “In fact, the Court has observed the “‘notice
of claim’ referred to in N.J.S.A. 59:8-8 is really a misnomer’
and, ‘is more properly denominated as a notice of injury or loss.'”

Lebron guoting Beauchamp v. Amedio, 164 N.J. 111, 121 £(2000)

 

(emphasis added). As unequivocally demonstrated by Exhibit A,
Plaintiff filed a notice of injury two days after the injury.
“Employer's First Report of Accidental Injury or
Occupational” demonstrates that, Piaintiff provided Defendants
with all of the statutorily-mandated information: his name and

address N.J.S.A. 59:8-4a and b; the date, place and other

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Circumstances of the occurrence N.J.S5S.A. 59:8-4c; a general
description cf the injury so far as it was known at the time
N.0.5.A. 59:8-4d; the name of the agency causing the injury
N.J.S.A. 59:8-4e. The only information that was not provided by
Plaintiff to the State was the estimated amount of his damages;
however, the statute only mandates that said amount only need be
presented “insofar as it may be known at the time of the
presentation of the claim”. N.J.S.A. 59:8-4f£. As only two days
elapsed since the occurrence, an estimation of his damages amount
was impossible at the time of the presentation of his claim. As
the Court is aware, an accurate estimation of damages in the notice
period is generally impossible. Accordingly, Plaintiff perfected
his notice of claim on April 24, 2019, two days after the
occurrence.

As the above document evidences, Officer Morales, upon his
release from the hospital, after the incident, returned back to
Northern State Prison. Upon his arrival at the prison, he was
presented with the Supervisor’s Accident Investigation Report (See
Heintjes Cert., Exhibit C) and completed the Notice of Injury Form
and accompanying dcecuments and instructed to review same for
accuracy, and, sign and date same. On that same date, April 24,
2019, a mere two days after the accident, the Notice of Injury was
stamped received by the State. To put it another way, the State

already had notice of the injury and conducted their own

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investigation into the circumstances surrounding the assault.
Plaintiff's supervisor conducted the investigation and even went
so far as to faili out the remainder of requisite paperwork for
Plaintiff. The paperwork was then sent to the State of New Jersey
Department of the Treasury, Division of Risk Management, PO Box
620, Trenton NJ 08625 - the exact same office and location that
the State directs notices of oalaims be filed with. (see
https: //www.nj.gov/treasury/riskmgt/pdf/ClaimShortForm. pdf, see
also Heintjes Cert. at Exhibit A)

B. Substantial Compliance.

The doctrine of substantial compliance requires that
Plaintiff's claims against the public entities and employees
survive. In Galik v. Clara Mass Medical Center, 167 N.J. 341
(2001), the New Jersey Supreme Court observed that “[t]he equitable
doctrine of substantial compliance has deep roots in English common
law and has received repeated recognition in our own cases.” Id.
at 351, 352 (internal citations omitted). “Its purpose is to avoid
the harsh consequences that flow from technically inadequate
actions that nonetheless meet a statute’s underlying purpose.” Id.
citing Anske v. Borough of Palisades Park, 139 N.J. Super. 342,

347 (App. Div. 1976} It is a doctrine based on ‘Justice and

fairness, designed to avoid technical rejection of legitimate

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claims. Id. citing Zamel_ v. Port of N.Y. Auth., 56 N.J. 1, 7
(1970) .3

On July 19, 2021, the New Jersey Supreme Court in the matter
of H.C. Equities, LP v. County of Union, New Jersey, and Union
County Improvement Authority, 2021 WL 3027207 (2021) again
considered the doctrine of substantial compliance in a Tort Claims
Act notice case. Relying on Galik, supra. The Supreme Court
reaffirmed the doctrine and stated that a court deciding a

substantial compliance claim considers the following factors:

1. the lack of prejudice to the defending party;

2.a series of steps taken to comply with the statute
involved;

3.a general compliance with the purpose of the
statute;

x

. a reasonable notice of petitioner’s claim, and
5. a reasonable explanation why there was not a strict
compliance with the statute.

 

[Galik v. Clara Mass Med. Ctr., 167 N.J. 341, 353
(2001) (quoting Bernstein v. Bd. Of Trs., TPAF, 151
N.d. Super. 71, 76-77 (App. Div. 1977))].
Considering these factors in the case at bar, the doctrine of
substantial compliance mandates that Plaintiff’s claims survive.

As discussed further herein., Plaintiff provided the State with

reasonable written notice, signed by him, two days after the

 

1 In Zamel, supra, the New Jersey Supreme Court “resorted to the

doctrine of substantial compliance to excuse the failure of the
plaintiff to file a timely notice of claim with a public agency
where that agency had in hand, within the 60-day period provided
by statute, substantially all of the information that would have
been provided in the notice.” 56 N.J. at 7.

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occurrence of his injury, that satisfied the mandates of the Tort
Claims Act notice provision. Even if the Plaintiff’s notice was
somehow defective, which it was not, the doctrine of substantial
compliance mandates that his claim survives, as 1.) The State
suffered no prejudice; 2.) Plaintiff filed written notice of his
claim that contained all of the information required by the
Statute; 3.) Plaintiff’s written notice complied with both the
letter and intention of the Statute; 4.) Plaintiff's written notice
provided the State with reasonable notice of his claims; and 5.)
Plaintiff’s notice complied with the Statute and Plaintiff
believed he satisfied all reporting requirements as it related to
the inury.

The Courts have invoked the equitable doctrine of substantial
compliance to prevent barring legitimate claims due to technical

defects. Henderson v. Herman, 373 N.J. Super. 625, 637 (App. Div.

 

2004), see also County of Hudson v. Dep’t of Corr., 208 N.J. 1, 21
(2011) quoting Lebron, supra, at 215 “To put it another way,
substantial compliance means that the notice has been given in a
way, which though technically defective, substantially satisfies
the purposes for which notices of claims are required.” Lebron,

supra, 407 N.J. Super. at 216; Lameiro v. W. N.Y. Bd. Of Educ.,

 

136 N.J. Super. 585, 588 (Law Div. 1975). As demonstrated above,

Plaintiff filed an entirely appropriate and compliant notice with

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the spirit of the Act that provided the information required
pursuant thereto.

The contents of a notice of claim as required by the Act at
N.J.S.A. 59:8-4 is “designed to provide the public entity with
sufficient information to enable it promptly to evaluate its
liability and potential exposure and, if it chooses, to correct a
defective condition and also to engage in settlement negotiations
prior to the commencement of suit.” Henderson, supra, 373 N.J.
Super. at 634.

N.J.S.A. 59:8-4 Content of claim; states:

A ciaim shall be presented by the claimant or by
a person acting on his behalf and shall include:

a. The name and post office address of the
claimant;

b. The post-office address to which the person
presenting the claim desires notices to be
sent;

c. The date, place and other circumstances of
the occurrence or transaction which gave
rise to the claim asserted;

d. A general description of the injury, damage
or loss incurred so far as it may be known
at the time of presentation of the claim;

e. The name or names of the public entity,
employee or employees causing the injury,
damage or loss, if known; and

£. The amount claimed as of the date of the
presentation of claim, including the
estimated amount of any prospective injury,
damage, or loss, insofar as it may be known
at the time of the presentation of the
presentation of the claim, together with the
basis of computation of the amount claimed.

Plaintiff's Notice of Injury report unequivocally responded

to the items listed in N.J.S.A. 59:8-4. Plain and simple, an

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“inmate opened his cell door and assaulted me.” (Heintjes Cert.
Exhibit A) Plaintiff then described his injury as “lower back
pain, lost feeling to right leg, numbness, head injury with
headache.” Id. The information conveyed by Plaintiff was
sufficient to notify the State of its potential liability and
inform them “of any prospective injury, damage, or loss, insofar
as it may have been known at the presentation of the claim.” If
the State wanted more information, they had the right to
investigate further and ask further questions of Plaintiff. In
fact, defendants conducted their own investigation and were
apprised and fully aware of the circumstances of the occurrence.
{See “Supervisor’s Accident Investigation Report” annexed to
Heintjes Cert. as Exhibit C) If they wanted more information,
Defendants had every ability to investigate further. Their failure
to investigate this matter further is of no fault of Plaintiff and
in no way invalidates his notice of claim.
POINT IV

COUNTS TEN THROUGH THIRTEEN AND SIXTEEN
THROUGH EIGHTEEN SHOULD NOT BE DISMISSED
AGAINST THE PUBLIC ENTITY DEFENDANTS’ AS
IMMUNITY DOES NOT EXIST FOR WILLFUL OR
INTENTIONAL CONDUCT.
Defendants, in their Motion to Dismiss, without citing a
single case as authority, requests that the Court, prior to any

discovery taking place, dismiss these counts in their entirety

against the Public Entity defendants only.

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Defendants argue incorrectly, that, because the torts
contained in those counts contain an element of intent, the State
Entity Defendants enjoy blanket immunity. Those Counts are:
Intentional Infliction of Emotion Distress, Count 10; False
Compiaint of Unprofessicnal Conduct, Count 11; #£x,°<Intentional
Interference with Prospective Economic Advantage, Count 12;
Tortious Interference with Prospective Economic Advantage, Count
13; Fundamentally Unfair Government Action, Count 16; Public
Employee Wrongfully Enforcing the Law, Count 17; and Wrongful
Discharge in Violation of Public Policy.

Discovery is needed to ascertain if the bad actors were acting
pursuant to orders or outside the scope of their employment.
Again, Defendants conflate a lack of evidence, pre-discovery lack
of evidence at that, as a failure to adequately state a claim upon
which relief can be granted.

Critical to the analysis of whether the immunity, conferred
by N.J.S.A. 59:9-2(c}, applies to the State Entity Defendants in
this case, is whether the conduct of the Individual State
defendants was wiliful misconduct, or rather, conduct committed
with a lack of good faith, questions that cannot be answered pre-
discovery. “[W]illful misconduct is not the same thing as a lack

of good faith.” Margolis and Novack, Claims Against Public

 

Entities, pg. 73 (2020) “An employee may be innocent of the former

and yet guilty of the latter.” Id. See also Bombace v. City of

 

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Newark, 241 N.J. Super. 1, 9 (App. Div. 1990), reversed on other

grounds, 125 N.J. 361 (1991) and Marley v. Palmyra Bor., 193 N.J.

 

Super. 271, 283-285 (Law Div. 1983) “The immunity for [59:2-10]
applies only where willful misconduct has been found and it is up
to the jury to find it, distinguishing, where necessary, such
misconduct from action taken with a lack of good faith.” Id. See
also Bombace, supra, and Marley v Paimyra, 193 N.J. Super. at 297-
299. Accordingly, Defendants arguments fail at this stage of the
litigation.

Furthermore, what Defendants fail to acknowledge in their
argument, which is unsupported by any authority, is that N.J.S.A.
59:2-10 “does not prevent the allocation of fault to a public
entity where evidence shows that the entity is directly liable for
the negligent supervision of an employee who has engaged in willful
misconduct. This section only precludes vicarious liability for
that employee’s conduct.” Margolis and Novack, Claims Against

Public Entities, pg. 71 (2020). See also Frugis v. Bracigliano,

 

177 N.J. 250, 279-281 (2003).

As such, these claims warrant fact discovery taking place to
ascertain the facts and circumstances surrounding the
discriminatory and tortious conduct directed at the Plaintiff.
Again, it would be vnreasonable to expect public records to exist

that expose the tortious conduct and ratification of same by

various state actors. Fact discovery is required to investigate,

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examine, and explore the conduct of state actors as it relates to
the allegations contained in Plaintiff’s Complaint.

POINT V

PUNITIVE DAMAGES ARE ALLOWED AGAINST PUBLIC
ENTITIES IN EMPLOYMENT CASES.

It is well settied that the State, as an employer, is subject
to punitive damages under the Conscientious Employee Protection
Act (CEPA). See Abbamount v. Piscataway Bd. of Educ., 138 NJ.
405, 426-433 {1994) accord, Green v Jersey City Bd. of Educ., 177
N.J. 434, 444-446 (2003) Liability for such damages in a CEPA
case is te be determined by the jury, as trier of fact, in
accordance with the principles established in the oprivate-

employment, sex discrimination case of Lehman v. Toys ‘R’ Us, Inc.,

 

132 N.J. 587 (1993). See Abbamount, supra, at 429, 432, 433.
It is equally well settled that punitive damages claims are
permissible against the State in actions brought pursuant to the

Law Against Discrimination (LAD). See Cavouti v. New Jersey

 

Transit Corp., 161 N.J. 107, 132-134 (1999) accord Lockley v. Dept.
of Corrections, 177 N.J. 413, 423-426 (2003). The Court in Lockley
went further, and, at 429-433, held that the standards for
calculating damages contained in the Punitive Damages Act,
N.J.S.A. 2A:15-5.9 et seg. apply to pubiic entities, with the

Single exception of consideration of the financial condition of

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the entity. See Margolis and Novack, Claims Against Public

 

Entities, 2020, pg. 276.

POINT VI

PAIN AND SUFFERING CLAIMS ARE RECOVERABLE FOR
CLAIMS IN PLAINTIFF’ S COMPLAINT.

N.J.S.A. 59:9-2(d) as not a blanket prohibition against
damages of pain and suffering. This section allows recovery for
pain and suffering attendant to “permanent loss of a bodily
function, permanent disfigurement or dismemberment where the
medical treatment expenses are in excess of $3,600.00." Plaintiff
alleges in every count “permanent disabilities that will, in the
future, similariy incapacitate him, cause him great pain and
suffering and require medical treatment and other damages.” The
Plaintiff’s damages are permanent and severe as he was required to
have a fusion surgery and his mental health condition as a result
of facts underlying the claim were so severe they required
commitment to a mental health facility. Given that these factual
allegations must be taken as true for purposes of the instant
motion, Defendants’ argument fails, and Plaintiff is entitied to

submit evidence to prove his permanent injuries.

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CONCLUSION
For the reasons argued herein, it is respectfully requested
that Defendants’ Motion to Dismiss pursvant to Federal Rule
12 (6b) (6) is denied.

Respectfully submitted:
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